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 11   §§RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           FITNESS     ANYWHERE   LLC’S
                                                       EMERGENCY MOTION FOR ENTRY
15
15    FITNESS ANYWHERE LLC, a Delaware                 OF AN ORDER AUTHORIZING
16    limited liability company, dba TRX and TRX       FITNESS ANYWHERE LLC TO
16
      Training,                                        PROVIDE ADEQUATE ASSURANCE
17
17                                                     OF FUTURE PAYMENT TO UTILITY
              Debtor and Debtor in Possession.         COMPANIES PURSUANT TO 11
18
18    ____________________________________             U.S.C. § 366; MEMORANDUM OF
                                                       POINTS     AND   AUTHORITIES;
19
19                                                     DECLARATION OF MARK REIS IN
20       Affects both Debtors                          SUPPORT THEREOF
20
21
21      Affects TRX Holdco, LLC only                   DATE:      June 10, 2022
                                                       TIME:      10:00 a.m.
22
22       Affects Fitness Anywhere, LLC only            PLACE:     *Via ZoomGov
                                                                  Courtroom 5C
23
23                                                                411 West Fourth Street
24
24                                                                Santa Ana, CA 92701

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 11          Fitness Anywhere LLC, dba TRX and TRX Training (“Product Co”), debtor in possession

 22   in the above-captioned, jointly-administered, Chapter 11 cases, hereby moves, on an emergency

 33   basis (the “Motion”), for the entry of an order authorizing Product Co to provide adequate

 44   assurance of future payment to certain utility companies pursuant to 11 U.S.C. § 366(c).

 55          On June 8, 2022, Product Co and TRX Holdco, LLC (“Hold Co” and together with

 66   Product Co, the “Debtors”), each filed a Voluntary Petition for relief under Chapter 11 of the

 77   Bankruptcy Code. Since the Petition Date, the Debtors have operated their businesses and

 88   managed their affairs as debtors in possession pursuant to Sections 1107 and 1108 of the

 99   Bankruptcy Code.
10
10           The Debtors and their respective subsidiaries (collectively referred to herein as “TRX”)
11
11    comprise a world leading functional fitness company. Since being founded in 2004, TRX has
12
12    evolved into a digitally-enabled, vertically integrated, omni-channel fitness lifestyle brand with
13
13    global reach powered by a large community of consumer and trainer enthusiasts.1 TRX’s
14
14    flagship and patented product - Suspension Trainer™ - is a highly versatile, portable, compact
15
15    and affordable fitness and training device/workout tool with broad reach across demographic
16
16    groups and fitness levels, which can be utilized effectively across fitness modalities. TRX offers
17
17    a full line of functional training tools and accessories to complement the Suspension Trainer™ to
18
18    serve all types of functional needs, from at-home essentials to complete gym installations. TRX
19
19    also launched in 2021 a purpose-built digital subscription-based platform - the TRX Training
20
20    Club® - that offers a library of on-demand videos and daily live classes.
21
21           Product Co’s business consists primarily of the procurement and sale of products under
22
22    the TRX brand name.        Product Co leases a warehouse facility in Ontario, California in
23
23    connection with such business, including in connection with holding, managing and shipping
24
24    inventory. In connection with Product Co’s use of that facility, Product Co receives water,
25
25
      1
26     Hold Co holds a preferential and controlling interest in Product Co. Hold Co also wholly owns
26
      TRXperience, LLC (“Experience Co”). Experience Co has not filed a bankruptcy case. Product
27
27    Co wholly owns Fitness Anywhere International LLC (100% by Product Co) and Fitness
      Anywhere Europe Cooperatief U.A. Netherlands (99% by Product Co and 1% by Fitness
28
28    Anywhere International LLC), none of which have filed a bankruptcy case.


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 11   electricity, gas and internet services from a number of utility companies (each (each a “Utility

 22   Company,” and collectively, the “Utility Companies”). Given the importance of the services

 33   provided by the Utility Companies to Product Co’s operation of the warehouse facility, it is

 44   crucial that the means of providing adequate assurance to the Utility Companies that provide

 55   utility services be determined promptly so that there is no interruption in the services provided.

 66          Generally, Product Co is proposing to provide each Utility Company with a cash deposit

 77   (“Cash Deposits”) in an amount equal to the average payment based on payments historically

 88   made on the utility account(s) (as determined by the last three payments made on such utility

 99   accounts). The total amount of Cash Deposits proposed to be provided is $1,129.19.
10
10                                   ADDITIONAL INFORMATION
11
11           This Motion is based upon Local Bankruptcy Rules 2081-1(a)(6) and 9075-1, 11 U.S.C.
12
12    §§ 105(a) and 507(a)(4), and Rule 6003 of the Federal Rules of Bankruptcy Procedure, this
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13    Motion, the supporting Memorandum of Points and Authorities, the attached Declaration of
14
14    Mark Reis, the arguments and statements of counsel to be made at the hearing on the Motion,
15
15    and other admissible evidence properly brought before the Court.
16
16           In order to provide maximum notice of this Motion, concurrently with the filing of this
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17    Motion with the Court, Product Co has served the Motion upon the Office of the United States
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18    Trustee, the Utility Companies, Product Co’s twenty largest general unsecured creditors,
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19    Woodforest National Bank, and all parties who have requested special notice via overnight
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20    mail. Additional hard copies or electronic copies of this Motion are available upon request to
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21    proposed counsel for the Debtors, whose contact information is located on the upper-left hand
22
22    corner of this Motion.
23
23           WHEREFORE, Product Co respectfully requests that this Court issue an order:
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24           (1)     granting the Motion in its entirety;
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25           (2)     authorizing Product Co to provide adequate “assurance of payment” to the
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26    Utility Companies in the form of Cash Deposits in the amounts proposed in the Motion,
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27    pursuant to the terms and conditions set forth therein;
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28


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 11          (3)    deeming the Cash Deposits to constitute adequate “assurance of payment”

 22   pursuant to 11 U.S.C. § 366(c);

 33          (4)    requiring the Utility Companies that receive Cash Deposits under an order of the

 44   Court granting the Motion to return such Cash Deposits to Product Co within ten (10) business

 55   days if, and when, such Utility Companies’ services are terminated by Product Co; and

 66          (5)    granting such other and further relief as the Court deems just and proper under

 77   the circumstances.
      Dated: June 8, 2022                        TRX HOLDCO, LLC
 88                                              FITNESS ANYWHERE LLC
 99
                                                 By:     /s/ Krikor J. Meshefejian
10
10                                                       RON BENDER
                                                         KRIKOR J. MESHEFEJIAN
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11                                                       LINDSEY L. SMITH
                                                         LEVENE, NEALE, BENDER,
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12
                                                         YOO & GOLUBCHIK L.L.P.
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13                                                       Proposed Attorneys for Chapter 11 Debtors
                                                         and Debtors in Possession
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 11                       MEMORANDUM OF POINTS AND AUTHORITIES

 22                                                   I.

 33                                     STATEMENT OF FACTS

 44   PLEASE SEE DEBTORS’ EMERGENCY MOTION FOR AUTHORITY TO USE CASH

 55   COLLATERAL AND THE DECLARATIONS OF BRENT LEFFEL, JAMES S.

 66   FELTMAN, JOSHUA BENN AND KRIKOR J. MESHEFEJIAN FOR BACKGROUND

 77   FACTS AND INFORMATION REGARDING THIS CASE, WHICH THE DEBTORS

 88   INCORPORATE HEREIN BY THIS REFERENCE.

 99   A.     The Utility Companies And The Proposed Deposits.
10
10           1.      The business of Fitness Anywhere LLC (“Product Co”) consists primarily of the
11
11    procurement and sale of products under the TRX brand name. Product Co leases a warehouse
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12    facility in Ontario, California in connection with such business, including in connection with
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13    holding, managing and shipping inventory. In connection with Product Co’s use of that facility,
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14    Product Co receives water, electricity, gas and internet services from a number of utility
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15    companies (each (each a “Utility Company,” and collectively, the “Utility Companies”). Given
16
16    the importance of the services provided by the Utility Companies to Product Co’s operation of
17
17    the warehouse facility, it is crucial that the means of providing adequate assurance to the Utility
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18    Companies that provide utility services be determined promptly so that there is no interruption in
19
19    the services provided.
20
20           2.      Product Co proposes that adequate “assurance of payment” be provided to the
21
21    Utility Companies in the form of cash deposits, as authorized by Section 366(c)(1)(A)(i) of the
22
22    Bankruptcy Code, in the amounts set forth in the annexed Memorandum of Points and
23
23    Authorities (“Cash Deposits”). The total amount of the Cash Deposits proposed to be paid by
24
24    Product Co is approximately $1,129.19. Generally, Product Co is proposing to provide each
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25    Utility Company with a cash deposit in an amount equal to the average payment based on
26
26    payments historically made on the utility account(s) (as determined by the last three payments
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27    made on such utility accounts). In addition to the Cash Deposits, the Utility Companies will be
28
28    kept current on all post-petition amounts payable to such Utility Companies.


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 11          3.      The source of the funds to be used to pay the proposed Cash Deposits to the

 22   Utility Companies will be Product Co’s revenue, which constitutes Woodforest National Bank’s

 33   cash collateral. Accordingly, concurrently herewith, Product Co has filed a motion for entry of

 44   an order authorizing the Product Co to use cash collateral to allow Product Co to maintain its

 55   operations and preserve the going-concern value of Product Co’s business and assets (the “Cash

 66   Collateral Motion”). Based on the cash collateral budget submitted in connection with the

 77   Product Co’s Cash Collateral Motion, approval to pay the relatively small Cash Deposits to the

 88   Utility Companies will not render Product Co’s bankruptcy estate administratively insolvent.

 99                                                     II.
10
10                                                DISCUSSION
11
11           Pursuant to 11 U.S.C. § 366, a utility may not alter, refuse, or discontinue services to, or
12
12    discriminate against, a debtor solely on the basis of the commencement of the bankruptcy case or
13
13    the debtor’s failure to pay a prepetition debt, unless the debtor fails to furnish adequate assurance
14
14    of payment for postpetition services, in the form of a deposit or “other security.” Specifically, 11
15
15    U.S.C. § 366 provides as follows:
16
16                  “(a) Except as provided in subsections (b) and (c) of this section, a
17                  utility may not alter, refuse, or discontinue service to, or discriminate
17
                    against, . . . the debtor solely on the basis of the commencement of a
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18                  case under this title or that a debt owed by the debtor to such utility
                    for services rendered before the order for relief was not paid when
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19                  due.
                    ...
20
20                  (b) Such utility may alter, refuse, or discontinue service if neither the
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21                  trustee nor the debtor, within 20 days after the date of the order for
                    relief, furnishes adequate assurance of payment, in the form of a
22
22                  deposit or other security, for service after such date. On request of a
                    party in interest and after notice and a hearing, the court may order
23
23                  reasonable modification of the amount of the deposit or other security
                    necessary to provide adequate assurance of payment.”
24
24
25
25                  (c)(2) Subject to paragraphs (3) and (4), with respect to a case filed
                    under chapter 11, a utility referred to in subsection (a) may alter,
26
26                  refuse, or discontinue utility service, if during the 30-day period
                    beginning on the date of the filing of the petition, the utility does not
27
27                  receive from the debtor . . . adequate assurance of payment for the
                    utility service that is satisfactory to the utility.
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 11
                     (3)(A) On request of a party in interest and after notice and a hearing,
 22                  the court may order the modification of the amount of an assurance
 33                  of payment under paragraph (2).”

 44   11 U.S.C. § 366.

 55           Section 366 of the Bankruptcy Code is intended to apply to entities providing electricity,

 66   natural gas, water, and/or telephone services, as well as any other entity that supplies services

 77   that cannot be readily obtained or replaced elsewhere, or which has a monopoly with respect to

 88   the services it provides the debtor. As explained by the legislative history,

 99                   [Section 366] is intended to cover utilities that have some special
                      position with respect to the debtor, such as electric company, gas
10
10
                      supplier, or telephone company that is a monopoly in the area so
11
11                    that the debtor cannot easily obtain comparable service from
                      another utility.
12
12
      H.R. Rep. No. 95-595, at 350 (1977); S. Rep. No. 95-989, at 60 (1978); see In re Coastal Dry
13
13
      Dock & Repair Corp., 62 B.R. 879, 883 (Bankr. E.D.N.Y. 1986) (landlord for Brooklyn Navy
14
14
      Yard “occupies a special position with respect to the debtor in its role as [the debtor’s] utility
15
15
      supplier”).
16
16
              Pursuant to Section 366(c)(2) of the Bankruptcy Code, during the first thirty (30) days
17
17
      following the commencement of a voluntary chapter 11 bankruptcy case, a utility may not alter,
18
18
      refuse, or discontinue service to, or discriminate against, a debtor solely on the basis of the
19
19
      commencement of the case or the failure of the debtor to pay a pre-petition debt for utility
20
20
      services provided. Following the foregoing 30-day period, however, utility companies may alter,
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21
      refuse or discontinue service if the debtor does not furnish adequate “assurance of payment” of
22
22
      post-petition utility service obligations that is satisfactory to the relevant utility.
23
23
              Section 366(c)(1)(A) of the Bankruptcy Code provides that a debtor must provide
24
24
      “assurance of payment” in the form of a cash deposit, a letter of credit, a certificate of deposit, a
25
25
      surety bond, a prepayment of utility consumption, or another form of security that is mutually
26
26
      agreed on between the utility and the debtor. 11 U.S.C. § 366(c)(1)(A).
27
27
              Under Section 366(c) of the Bankruptcy Code, this Court has exclusive responsibility for
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28


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 11   determining what constitutes adequate assurance of payment of post-petition utility charges and

 22   is not bound by local or state regulations. See, e.g. Begley v. Philadelphia Elec. Co. (In re

 33   Begley), 41 B.R. 402, 405-06 (Bankr. E.D. Pa. 1984); Marion Steel Co. v. Ohio Edison Co. (In re

 44   Marion Steel Co.), 35 B.R. 188, 195 (Bankr. D. Ohio 1983) (pre-BAPCPA case finding that

 55   determinations of adequate assurance under section 366 are fully within the Court’s discretion).

 66          Product Co proposes to provide adequate “assurance of payment” to the Utility

 77   Companies providing services to Product Co in the form of the Cash Deposits, as authorized by

 88   Section 366(c)(1)(A)(i) of the Bankruptcy Code, in the amounts set forth in Exhibit 1 to the

 99   attached Declaration of Mark Reis. Product Co requests authority to pay the proposed Cash
10
10    Deposits to the Utility Companies for the utility accounts reflected in Exhibit 1. The total
11
11    amount of the Cash Deposits proposed to be paid to the Utility Companies by the Debtor is
12
12    approximately $1,129.19. As noted above, Product Co is generally proposing to provide each
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13    Utility Company with a Cash Deposit in an amount equal to the average cost based on the
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14    historical utility costs incurred on the utility account(s), as determined by the last three invoice
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15    amounts for such utility accounts. In addition to the Cash Deposits, the Utility Companies will
16
16    be kept current on all post-petition amounts payable to such Utility Companies.
17
17           The source of the funds to be used to pay the proposed Cash Deposits to the Utility
18
18    Companies will be Product Co’s revenue, which constitutes Woodforest National Bank’s cash
19
19    collateral. Accordingly, concurrently herewith, Product Co has filed the Cash Collateral Motion
20
20    to allow Product Co to maintain its operations and preserve the going-concern value of its
21
21    business and assets. Based on the cash collateral budget submitted in connection with the Cash
22
22    Collateral Motion, approval to pay the Cash Deposits to the Utility Companies will not render
23
23    the Product Co’s bankruptcy estate administratively insolvent.
24
24                                         III.    CONCLUSION
25
25           WHEREFORE, Product Co respectfully requests that this Court issue an order:
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26           (1)     granting the Motion in its entirety;
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 11          (2)     authorizing Product Co to provide adequate “assurance of payment” to the

 22   Utility Companies in the form of Cash Deposits in the amounts proposed in the Motion,

 33   pursuant to the terms and conditions set forth therein;

 44          (3)     deeming the Cash Deposits to constitute adequate “assurance of payment”

 55   pursuant to 11 U.S.C. § 366(c);

 66          (4)     requiring the Utility Companies that receive Cash Deposits under an order of the

 77   Court granting the Motion to return such Cash Deposits to Product Co within ten (10) business

 88   days if, and when, such Utility Companies’ services are terminated by Product Co; and

 99          (5)     granting such other and further relief as the Court deems just and proper under
10
10    the circumstances.
11
11
      Dated: June 8, 2022                           TRX HOLDCO, LLC
12
12                                                  FITNESS ANYWHERE LLC
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13
                                                    By:    /s/ Krikor J. Meshefejian
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14                                                         RON BENDER
                                                           KRIKOR J. MESHEFEJIAN
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15                                                         LINDSEY L. SMITH
                                                           LEVENE, NEALE, BENDER,
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                                                                   YOO & GOLUBCHIK L.L.P.
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17                                                         Proposed Attorneys for Debtors and
                                                           Debtors in Possession
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 11                                 DECLARATION OF MARK REIS

 22          I, Mark Reis, hereby declare under penalty of perjury as follows:

 33          1.       I am the Chief Financial Officer of TRX Holdco, LLC (“Hold Co”) and Fitness

 44   Anywhere LLC, dba TRX and TRX Training (“Product Co” and together with Hold Co, the

 55   “Debtors”), and I have held this position since approximately October 2019. I am responsible

 66   for the day-to-day management and oversight of the finance functions of the Debtors. My duties

 77   comprise of general management across the following areas of responsibility: finance;

 88   accounting (oversight of controller function); tax; banking relationship management; and

 99   management of external auditors. I have personal knowledge of the facts set forth in this
10
10    Declaration and if called as a witness, could and would testify competently with respect thereof.
11
11    Capitalized terms not otherwise defined have the same meaning provided to such terms in the
12
12    Motion above.
13
13           2.       Product Co’s business consists primarily of the procurement and sale of products
14
14    under the TRX brand name. Product Co leases a warehouse facility in Ontario, California in
15
15    connection with such business, including in connection with holding, managing and shipping
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16    inventory. In connection with Product Co’s use of that facility, Product Co receives water,
17
17    electricity, gas and internet services from a number of Utility Companies. Given the importance
18
18    of the services provided by the Utility Companies to Product Co’s operation of the warehouse
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19    facility, it is crucial that the means of providing adequate assurance to the Utility Companies that
20
20    provide utility services be determined promptly so that there is no interruption in the services
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21    provided.
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11          3.      The total amount of the Cash Deposits proposed to be paid by Product Co is

22   approximately $1,129.19. Generally, Product Co is proposing to provide each Utility Company

33   with a cash deposit in an amount equal to the average payment based on payments historically

44   made on the utility account(s) (as determined by the last three payments made on such utility

55   accounts). Attached as Exhibit 1 is a calculation of the Cash Deposits which I prepared using

66   the last three bills for each of the Utility Companies listed.

77          I declare under penalty of perjury under the laws of the United States of America that the

88   foregoing is true and correct. Executed this 8th day of June, 2022, at Reedsville, Wisconsin.

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10                                                                    ___________________________
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11                                                                          MARK REIS
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                    EXHIBIT "1"
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                                                                                                                                           Last 3     Last 3     Last 3
           Debtor                       Name                                 Address                       Service   Balance   Currency   Invoices   Invoices   Invoices   Cycle   Average

                                                                                                     Warehouse
Fitness Anywhere LLC   Frontier Communications Corporation   401 Merritt 7, Norwalk, CT 06851 US     internet        1,103.80 USD            367.5    368.15     368.15 Monthly               367.93
                                                             Ferrellgas, LP PO Box 173940, Denver,
Fitness Anywhere LLC   Ferrellgas, LP                        CO 80217 US                           GAS                 729.46 USD          127.23     104.59     187.49 Weekly                139.77
                                                             P.O. Box 300, Rosemead, CA 91772- Warehouse
Fitness Anywhere LLC   Southern California Edison            0001 US                               utilities bill    1,275.51 USD          723.01       552.5    588.96 Monthly               621.49
                                                                                                                                                                                             1129.19
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): FITNESS ANYWHERE LLC’S EMERGENCY
MOTION FOR ENTRY OF AN ORDER AUTHORIZING FITNESS ANYWHERE LLC TO PROVIDE ADEQUATE
ASSURANCE OF FUTURE PAYMENT TO UTILITY COMPANIES PURSUANT TO 11 U.S.C. § 366; MEMORANDUM
OF POINTS AND AUTHORITIES; DECLARATION OF MARK REIS IN SUPPORT THEREOF will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 8, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 8, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 8, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

                                                               Service information BY OVERNIGHT MAIL continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 8, 2022                 Lourdes Cruz                                                      /s/ Lourdes Cruz
 Date                          Printed Name                                                     Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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In re TRX Holdco, LLC
File No. 9738
Utilities

                                        Agent for Service of Process for Frontier   Ferrellgas, LP
Frontier Communications Corporation     Communications Corporation                  PO Box 173940
                                        CSC - LAWYERS INCORPORATING                 Denver, CO 80217
401 Merritt 7
                                        SERVICE
Norwalk, CT 06851 US                    2710 GATEWAY OAKS DR STE 150N
                                        SACRAMENTO, CA 95833

Southern California Edison              Agent for Service of Process for            Agent for Service of Process for
P.O. Box 300                            Southern California Edison                  Ferrellgas, LP
Rosemead, CA 91772-0001                 CRISTINA LIMON                              C T CORPORATION SYSTEM
                                        2244 WALNUT GROVE AVE                       330 N BRAND BLVD STE 700
                                        ROSEMEAD, CA 91770                          GLENDALE, CA 91203
         Case 8:22-bk-10948-SC         Doc 15 Filed 06/08/22 Entered 06/08/22 14:46:22           Desc
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                                                                              Michael J Hauser
                                                                              United States Trustee
In re TRX Holdco, LLC                                                         411 W Fourth St Suite 7160
File No. 9738                                                                 Santa Ana, CA 92701-4593
UST, 20 Largest, Secured



                                         Cole Schotz P.C.                     Creative Artists Agency
Baker Tilly US, LLP                      25 Main Street P.O. Box 800          Attn: Jeffrey Freedman
10 Terrace Court PO Box 7398             Hackensack, NJ 07602                 2000 Avenue of the Stars
Madison, WI 53707-7398                                                        Los Angeles, CA 90067


JMBM LLP                                 Morrison & Morrison                  Sterling Legal Solutions, Inc.
1900 Avenue of the Stars                 222 Souther Riverside Plaza          Attn: Stephanie Sterling
Los Angeles, CA 90067                    Chicago, IL 60606                    26895 Aliso Creek Rd., B-129
                                                                              Aliso Viejo, CA 92656


UDR-Eight 80                             UDR-Eight 80                         Sterling Legal Solutions, Inc.
1590 Adams Avenue                        Agent for Service of Process         Agent for Service of Process
PO Box 2350                              330 N. Brand Blvd., Suite 700        720 14th Street
Costa Mesa, CA 92628                     Glendale, CA 91203                   Sacramento, CA 95814

                                         OTHER




Farmers & Merchants Bank                 Farmers & Merchants Bank
2421 East Coast Hwy                      Attn: Christine M Bowman
Corona del Mar, CA 92625                 302 Pine Avenue
                                         Long Beach, CA 90802


                                                      SECURED




Counsel for Woodforest National Bank     Woodforest National Bank             Woodforest National Bank
Katten Muchin Rosenmann LLP              Attn: CMB Loan Operations            Attn: David A. Macdonald
Attn: Jan Harris Cate, Esq.              25231 Grogans Mill Road, 6th Floor   1330 Lake Robbins Drive, Suite 500
515 South Flower Street, Suite 1000      The Woodlands, TX 77380              The Woodlands, TX 77380
Los Angeles, CA 90071

Counsel for Woodforest National Bank
ReedSmith
Marsha Houston/Christopher Rivas
355 South Grand Avenue, Suite 2900
Los Angeles, CA, 90071
         Case 8:22-bk-10948-SC   Doc 15 Filed 06/08/22 Entered 06/08/22 14:46:22           Desc
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In re Fitness Anywhere LLC         Exemplar Design                    Michael J Hauser
File No. 9732                      4680 Parkway Drive                 United States Trustee
UST, 20 Largest and Secured        Suite 300                          411 W Fourth St Suite 7160
                                   Mason, OK 45040                    Santa Ana, CA 92701-4593


Exemplar Design                    Core Health & Fitness, LLC         Stephen Gould Corporation
4680 Parkway Drive Suite 300       4400 Northeast 77th Avenue         35 South Jefferson Road
Mason, OH 45040                    Suite 300                          Whippany, NJ 07981
                                   Manufacturer Land America
                                   Vancouver, WA 98662

Flexport Inc                       UPS Plan 0386NE                    Duane Morris LLP
P.O. Box 207244                    55 Glenlake Parkway NE             30 South 17th Street
Dallas, TX 75320-7244              Atlanta, GA 30328                  Philadelphia, PA 19103-4196



Buy Box Experts                    MAN Staffing, LLC                  Syzygy Digital Marketing, Inc
3020 N Cullen Ct. Pleasant         550 East Del Amo Boulevard         41 Flatbush Avenue
Grove, UT 84062                    Carson, CA 90746                   Brooklyn, NY 11217



Lahlouh Inc                        US Customs and Border Protection   McCollister's Transportation Group, Inc
Attn: H. John Lahlouh              PO BOX 979126                      8 Terri Lane
1649 Adrian Road                   St. Louis, MO 63197-9000           Burlington, NJ 08016
Burlingame, CA 94010


NetSuite Inc                       Google                             AMEX Corp Card
500 Oracle Parkway                 P.O. Box 39000                     P.O. Box 0001
Redwood City, CA 94065             San Francisco, CA 94139            Los Angeles, CA 90096



The Trade Desk                     Dirbos Inc.                        Redwood Supply Chain Solutions
42 N Chestnut St.                  27758 Santa Margarita Pkwy         1765 North Elston Avenue Suite 216
Ventura, CA 93001                  Suite 366                          Chicago, IL 60642
                                   Mission Viejo, CA 92691


USA Global Logistics LLC           ISUPPORT WORLDWIDE LLC             Core Health & Fitness, LLC
255 Madsen Drive                   1019 West James St                 Agent for Service of Process
Bloomingdale, IL 60108             Kent, WA 98032                     330 N. Brand Blvd, Ste 700
                                                                      Glendale, CA 91203


Stephen Gould Corporation          Flexport Inc.                      United Parcel Service, Inc.
Agent for Service of Process       Agent for Service of Process       Agent for Service of Process
2710 Gateway Oaks Drive            5716 Corsa Ave.                    2710 Gateway Oaks Dr.
Ste 150N                           Ste 110                            Ste 150N
Sacramento, CA 95833               Westlake Village, CA 91362         Sacramento, CA 95833
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 McCollister’s Transportation            Netsuite Inc.                        Google
 Systems, Inc.                           Agent for Service of Process         Agent for Service of Process
 Agent for Service of Process            2710 Gateway Oaks Dr.                2710 Gateway Oaks Dr.
 2710 gateway Oaks Dr.                   Ste 150N                             Ste 150N
                                                                              Sacramento, CA 95833
 Ste 150N                                Sacramento, CA 95833
 Sacramento, CA 95833


 Man Staffing LLC                        Trade Desk                           Dirbos
 Attn: Miguel A Navarro                  Agent for Service of Process         Agent for Service of Process
                                                                              101 N. Brand Blvd. 11th Floor
 550 E Del Amo Blvd.                     2710 Gateway Oaks Dr.
                                                                              Glendale, CA 91203
 Suite C                                 Ste 150N
 Carson, CA 90746                        Sacramento, CA 95833


 Redwood Supply Chain Solutions
 Attn: David Robinson
 323 W 25th Ave.
 San Mateo, CA 94403




 SECURED:                                                                     Counsel for Woodforest National Bank
                                                                              ReedSmith
                                                                              Marsha Houston/Christopher Rivas
                                                                              355 South Grand Avenue, Suite
                                                                              2900 Los Angeles, CA, 90071

Counsel for Woodforest National Bank     Woodforest National Bank             Woodforest National Bank
Katten Muchin Rosenmann LLP              Attn: CMB Loan Operations            Attn: David A. Macdonald
Attn: Jan Harris Cate, Esq.              25231 Grogans Mill Road, 6th Floor   1330 Lake Robbins Drive, Suite 500
515 South Flower Street, Suite 1000      The Woodlands, TX 77380              The Woodlands, TX 77380
Los Angeles, CA 90071
